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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                           FT. LAUDERDALE DIVISION

          SPRINT COMMUNICATIONS, LLC,

                   Plaintiff/Counterclaim Defendant,

          v.

          STEPHEN CALABRESE, as an individual,                                 Case No. 0:18-cv-60788-JEM-LSS
          NEXTEL, INC. d/b/a NEXTEL
                                                                                                   Jury Trial Demanded
          WORLDWIDE, RETROBRANDS USA
          LLC, JEFFREY KAPLAN, as an individual,
          and NEXTEL MOBILE WORLDWIDE
          INC.

                   Defendants/Counterclaimants.


                  PLAINTIFF SPRINT COMMUNICATION, LLC’S TRIAL EXHIBIT LIST

PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
  1                                                    Certificate of Registration and
                                                       TSDR/TESS Information for Sprint’s
                                                       NEXTEL Mark, U.S. Reg. No.
                                                       1,884,244 (devices)
                                                       (SPR0000001-SPR0000011)
  2                                                    Certificate of Registration and
                                                       TSDR/TESS Information for Sprint’s
                                                       NEXTEL Mark, U.S. Reg. No.
                                                       1,637,139 (services)
                                                       (SPR0000012-SPR0000027)
  3                                                    Certificate of Registration and
                                                       TSDR/TESS Information for the Sprint
                                                       Chirp Mark, U.S. Reg. No. 5,047,282
                                                       (SPR0008420-SPR0008421;
                                                       SPR0008528-SPR0008568;
                                                       SPR0003839-SPR0003850)
  4                                                    April 22, 2015 Section 8 & 9 Declaration
                                                       of Continued Use & Specimen for U.S.
                                                       Reg. No. 1,884,244 (Jobe Depo. Ex. 137)




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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
  5                                                     May 20, 2010 Office Action Requiring
                                                        Sprint Provide Proof of Secondary
                                                        Meaning in Support of Sprint’s
                                                        Application to Register Sprint Chirp
                                                        Mark, U.S. Reg. No. 5,047,282
                                                        (Sanctions – Ex. G to DeFord)
  6                                                     November 22, 2010 Response to Office
                                                        Providing Evidence of Secondary
                                                        Meaning in Support of Sprint’s
                                                        Application to Register Sprint Chirp
                                                        Mark, U.S. Reg. No. 5,047,282
                                                        (Sanctions – Ex. G to DeFord)
  7                                                     January 20, 2011 Publication and Issue
                                                        Review Complete Notification from the
                                                        USTO regarding Sprint’s Application to
                                                        Register Sprint Chirp Mark, U.S. Reg.
                                                        No. 5,047,282
  8                                                     Specimen of use for U.S. Reg. No.
                                                        5,047,282 (SPR0008422)
  9                                                     Photographs of Sonim XP Strike IS box
                                                        from Sprint’s 2015 Inventory
                                                        (SPR0000032-SPR0000033)
 10                                                     Photographs of Sonim XP Strike IS box
                                                        and user guide from Sprint’s 2017
                                                        Inventory (SPR0000347-SPR0000352)
 11                                                     Photographs of Sonim XP Strike IS box Not produced during
                                                        and user guide from Sprint’s February    discovery (not sold).
                                                        2019 Inventory                           Objected to under FRE 401
                                                        (MSJ – Wiley Decl. Ex. 15)               and 403. (R, UP).
 12                                                     Photographs of Sonim XP Strike IS box Not produced during
                                                        and user guide from February 2019, as    discovery (not sold).
                                                        available in a Sprint store              Objected to under FRE 401
                                                        (MSJ – Wiley Decl. Ex. 16)               and 403. (R, UP).
 13                                                     Sprint’s Revenue for the Sonim XP Strike No underlying data to
                                                        IS device from 2013 through 1st Half of support or link to Nextel.
                                                        2018 (SPR0002866)                        Objected to under FRE 401,
                                                                                                 403 and 1006. (R, UP, A).
 14                                                     Sprint’s Units Sold for the Sonim XP     No underlying data to
                                                        Strike IS from 2013 to 2018              support or link to Nextel.
                                                        (SPR0003778)                             Objected to under FRE 401,
                                                                                                 403 and 1006. (R, UP, A).
 15                                                     Sprint’s Revenue for Sonim XP Strike IS No underlying data to
                                                        devices and Other PTT Devices that Use support or link to Nextel.
                                                        the Sprint Chirp Mark from October 2017 Objected to under FRE 401,
                                                        to December 2018 (SPR0009535)            403 and 1006. (R, UP, A).



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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
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April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 16                                                     Summary Chart of Sprint’s Purchase       No underlying data to
                                                        Order History for the Sonim XP Strike IS support or link to Nextel.
                                                        (SPR0000524)                             Objected to under FRE 401,
                                                                                                 403 and 1006. (R, UP, A).
 17                                                     Purchase Orders for Sonim XP Strike IS, Not evidence of trademark
                                                        issued by Nextel Systems LLC to Sonim use; confusing to jury.
                                                        Technologies, Inc.                       Objected to under FRE 401
                                                        (SPR0002826-SPR002865)                   and 403. (R, UP).
 18                                                     Notice of Abandonment – U.S. Ser. No.
                                                        87220918 for NEXTEL (SPR0000071)
 19                                                     Northeast Two Way Radio Corp. website,
                                                        03/13/18 (SPR0000111-SPR0000113)
 20                                                     Tell Communications Webpage, 03/13/18
                                                        (SPR0000182-SPR0000185)
 21                                                     Jeffrey Kaplan LinkedIn Page
                                                        (SPR0000194-SPR0000195)
 22                                                     Customer Wireless Service Plan Invoice No trademark usage of
                                                        from 2014, issued by Nextel              Nextel. Objected to under
                                                        Communications of the Mid-Atlantic, Inc FRE 401 and 403. (R, UP).
                                                        and requesting payment to Sprint of
                                                        Nextel Communications
                                                        (SPR0008262-SPR0008297)
 23                                                     Customer Wireless Service Plan Invoice No trademark usage of
                                                        from 2015, issued by Nextel              Nextel. Objected to under
                                                        Communications of the Mid-Atlantic and FRE 401 and 403. (R, UP).
                                                        requesting payment to Sprint or Nextel
                                                        Communications
                                                        (SPR0008298-SPR0008318)
 24                                                     Customer Wireless Service Plan Invoice No trademark usage of
                                                        from 2016, issued by Nextel              Nextel. Objected to under
                                                        Communications of the Mid-Atlantic and FRE 401 and 403. (R, UP).
                                                        requesting payment to Sprint or Nextel
                                                        Communications
                                                        (SPR0008319-SPR0008335)
 25                                                     Customer Wireless Service Plan Invoice No trademark usage of
                                                        from 2017, issued by Nextel              Nextel. Objected to under
                                                        Communications of the Mid-Atlantic and FRE 401 and 403. (R, UP).
                                                        requesting payment to Sprint or Nextel
                                                        Communications (SPR0008336-
                                                        SPR0008339)
 26                                                     January 11, 2018 Sprint Direct Connect
                                                        Plus point-of-sale presentation
                                                        (SPR0003215-SPR0003255)




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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 27                                                    Sprint’s Business Enterprise “Battle Card” Undated; not trademark
                                                       (SPR0003287-SPR0003288)                    usage. Objected to under
                                                                                                  FRE 401 and 403. (R, UP).
 28                                                    Panic Emergency Transmitter point-of- Not trademark usage.
                                                       sales presentation (SPR0009231-            Objected to under FRE 401
                                                       SPR0009328)                                and 403. (R, UP).
 29                                                    Sprint Direct Connect Plus for Public      Not trademark usage.
                                                       Sector & Safety with Land Mobile Radio Objected to under FRE 401
                                                       (LMR) Interoperability point-of-sale       and 403. (R, UP).
                                                       presentation (SPR0009329-
                                                       SPR0009363)
 30                                                    Sprint Direct Connect Plus point-of-sale Not trademark usage.
                                                       presentation given at IWCE 2017            Objected to under FRE 401
                                                       (SPR0003732-SPR0003740)                    and 403. (R, UP).
 31                                                    Sprint Direct Connect Plus point-of-sale Not trademark usage.
                                                       presentation                               Objected to under FRE 401
                                                       (SPR0000525-SPR0000558)                    and 403. (R, UP).
 32                                                    Photograph of Sprint’s 2018 IWCE           Not trademark usage.
                                                       booth, displaying NEXTEL on table          Objected to under FRE 401
                                                       banners (MSJ – Wiley Dec. Ex. 12)          and 403. (R, UP).
 33                                                    Photographs of Sprint’s 2019 IWCE booth Not previously produced.
                                                       displaying NEXTEL on table banner          Objected to under FRE 401
                                                       (Images produced at SPR0009639-            and 403. (R, UP).
                                                       SPR0009641)
 34                                                    Examples of Online Uses of NEXTEL by Cannot order Nextel series or
                                                       Sprint from 2014-2018                      devices from website.
                                                       (SPR0009205-SPR0009213;                    Objected to under FRE 401
                                                       SPR0008424-SPR0008425)                     and 403. (R, UP).
 35                                                    Sprint-Nextel on Caller ID (SPR0009462) Not trademark usage;
                                                                                                  undated. Objected to under
                                                                                                  FRE 401 and 403. (R, UP).
 36                                                    Example of Sprint’s Prior Use of Yellow Undated. Objected to under
                                                       and Black NEXTEL Logo (SPR0009463) FRE 401 and 403. (R, UP).

 37                                                     Sprint Communications, Inc.’s             Not trademark usage.
                                                        Organizational Chart (SPR0000031)         Objected to under FRE 401
                                                                                                  and 403. (R, UP).
 38                                                     Physical Exhibits: Sonim XP Strike IS     Undated.; not photos of old
                                                        boxes, user guide, and phone from Sprint Nextel phones. Objected to
                                                        2019 inventory (Images of exhibit include under FRE 401 and 403. (R,
                                                        as Ex. 15 to S. Wiley Declaration in      UP).
                                                        Support of Sprint’s Opposition to
                                                        Defendant’s Motion for Preliminary
                                                        Injunction, DE 115-2 at p. 231-234)




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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 39                                                     Photographs of NEXTEL-branded                         Photos of old phones.
                                                        PowerSource phones sold around 2013                   Objected to under FRE 401
                                                        that worked on both CDMA/iDEN                         and 403. (R, UP).
                                                        Networks (SPR0009464-SPR0009465)
 40                                                     Sprint 2014 Internal Document Detailing    Instructions are not
                                                        How to activate Nextel Direct Connect      trademark usage. Objected to
                                                        on Sprint devices (SPR0003272-             under FRE 401 and 403. (R,
                                                        SPR0003279)                                UP).
41 A                                                    Physical Exhibits: Sprint Together with    Not tied to Nextel; no
                                                        NEXTEL banner/signage used at 2018         underlying data to support.
                                                        IWCE (Image produced at SPR0009630)        Objected to under FRE 401,
                                                                                                   403 and 1006. (R, UP, A).
41 B                                                    Physical Exhibit: Sprint Together with     Not tied to Nextel; no
                                                        NEXTEL banner/signage used at 2019         underlying data to support.
                                                        IWCE                                       Objected to under FRE 401,
                                                                                                   403 and 1006. (R, UP, A).
 42                                                     List of the PTT devices that Sprint offers Not tied to Nextel; no
                                                        that either have the Sprint Chirp Mark     underlying data to support.
                                                        preprogrammed onto it or permit            Objected to under FRE 401,
                                                        download of it (SPR0009169)                403 and 1006. (R, UP, A).
 43                                                     Sprint’s Revenue Information for           Not tied to Nextel; no
                                                        Devices that use the Sprint Chirp Mark, underlying data to support.
                                                        from each devices launch date through      Objected to under FRE 401,
                                                        September 2017 (SPR0009468)                403 and 1006. (R, UP, A).
 44                                                     Summary of Sprint’s Purchase Order
                                                        History for devices that use the Sprint
                                                        Chirp Mark (SPR0009467)
 45                                                     Sprint Direct Connect Plus point-of-sale Not trademark usage;
                                                        presentation with audible chirp            irrelevant. Objected to under
                                                        (SPR0003744)                               FRE 401 and 403. (R, UP).
 46                                                     Sprint Direct Connect point-of-sale        Not trademark usage;
                                                        presentation with presenter notes          irrelevant. Objected to under
                                                        (SPR0004123-SPR0004163)                    FRE 401 and 403. (R, UP).
 47                                                     Example of Online Use of Sprint Chirp      Not trademark usage;
                                                        Mark (SPR0008426-SPR0008429)               undated as to when added.
                                                                                                   Objected to under FRE 401
                                                                                                   and 403. (R, UP).
 48                                                     December 2018 screenshot of Google
                                                        Search results for ‘nextel’ (Calabrese
                                                        Depo. Ex. 6)
 49                                                     Excerpts from Sprint’s March 2018 Form
                                                        10-K Filing (MSJ – Wiley Ex. 14)




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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 50                                                     Physical Exhibits: Boxes for Sprint’s new
                                                        rugged devices with NEXTEL (images
                                                        previously produced at SPR0009170-
                                                        SPR0009171 and produced at
                                                        SPR0009633 – SPR0009638)
 51                                                     Customer Presentation – Sprint Direct     Not trademark usage;
                                                        Connect Plus 2a (Produced as              undated as to when added.
                                                        SPR0009663--SPR0009700)                   Objected to under FRE 401
                                                                                                  and 403. (R, UP).
 52                                                     Customer Presentation – LMR               Not trademark usage;
                                                        Interoperability-SDCPlus_1a1 (Produced undated as to when added.
                                                        as SPR0009642-0009662                     Objected to under FRE 401
                                                                                                  and 403. (R, UP).
 53                                                     Screenshot of Amazon search results for Old phones being sold on
                                                        “nextel sprint” (SPR0000264-              Amazon. Objected to under
                                                        SPR0000269)                               FRE 401 and 403. (R, UP).
 54                                                     Screenshots of Sonim XP Strike IS
                                                        available on Sprint’s website
                                                        (SPR0000300-SPR0000301)
 55                                                     Nextel-formative Domains Owned by         Not trademark usage; no
                                                        Sprint (SPR0000487)                       underlying support. Objected
                                                                                                  to under FRE 401 and 403.
                                                                                                  (R, UP).
 56                                                     June 4, 2004 Screenshots of Sprint        Outdated/not current usage.
                                                        Nextel products offered online at         Objected to under FRE 401
                                                        <nextelonline.nextel.com> (SPR0000337- and 403. (R, UP).
                                                        SPR0000339)
 57                                                     Sprint’s 2013 Form 10-K filing
                                                        (SPR0002213-SPR0002428)
 58                                                     Sprint’s 2014 Form 10-K Filing
                                                        (SPR0002429-SPR0002615)
 59                                                     Sprint’s 2015 Form 10-K Filing
                                                        (SPR0002616-SPR0002824)
 60                                                     Sprint Direct Connect Plus Video          Not trademark use/functional
                                                        Series: Launching a Call                  use. Objected to under FRE
                                                        (SPR0008443)                              401 and 403. (R, UP).
 61                                                     Sprint Direct Connect Commercial          Commercial from 2012; not
                                                        (SPR0008351)                              current use. Objected to
                                                                                                  under FRE 401 and 403. (R,
                                                                                                  UP).
 62                                                     Nextel Worldwide Financial                Designated Highly
                                                        Balance Sheets (NEXTEL-1022-              Confidential - AEO
                                                        NEXTEL-1028)




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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 63                                                     Device Spec Sheets Including Third-     Irrelevant; no Nextel usage
                                                        Party Certifications (SPR0009469-       in documents. Objected to
                                                        SPR0009534)                             under FRE 401 and 403. (R,
                                                                                                UP).
 64                                                     Sprint NEXTEL Commercials               Legacy commercials; not
                                                        (SPR000329-SPR000336; SPR0008423; current usage. Objected to
                                                        SPR0008341; SPR0008343;                 under FRE 401 and 403. (R,
                                                        SPR0008367-SPR0008368)                  UP).
 65                                                     Certificate of Merger between Sprint    Irrelevant: not trademark
                                                        Communications, Inc. and Nextel         usage. Objected to under
                                                        Communications, Inc.                    FRE 401 and 403. (R, UP).
                                                        (SPR0000028-SPR0000030)
 66                                                     Certificates of Compliance with Various Irrelevant: not trademark
                                                        Standards and Regulations               usage. Objected to under
                                                        (SPR0000506; SPR0000512-                FRE 401 and 403. (R, UP).
                                                        SPR0000514;)
 67                                                     September 10, 2018 Screenshots of
                                                        <nextelmobileworldwide.com>
                                                        (SPR0003339-SPR0003357;
                                                        SPR0008103-SPR0008105;
                                                        SPR0008522-SPR0008524)
 68                                                     March 13, 2018 and August 7, 2019
                                                        Screenshots of <retrobrands.net>
                                                        (SPR0000187-SPR0000193)
 69                                                     March 13, 2018 Screenshots of
                                                        <nextelworldwide.com> (SPR0000072-
                                                        SPR0000096)
 70                                                     U.S. Appl. No. 87/220,918, filed by
                                                        Stephen Calabrese to register NEXTEL
                                                        (SPR0000045-SPR0000050)
 71                                                     February 8, 2017 Office Action Refusing
                                                        U.S. Appl. No. 87/220,918 (SPR0000051-
                                                        SPR0000058)
 72                                                     July 31, 2017 Response to February 8,
                                                        2017 Office Action Refusing U.S. Appl.
                                                        No. 87/220,918 (SPR0000059-
                                                        SPR0000060)
 73                                                     August 8, 2017 Final Office Action
                                                        Refusing U.S. Appl. No. 87/220,918
                                                        (SPR0000061-SPR0000066)
 74                                                     December 21, 2017 Notice of Appeal of
                                                        Final Office Action Refusing U.S. Appl.
                                                        No. 87/220,918 (SPR0000067)




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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
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PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 75                                                     February 1, 2018 Notice of
                                                        Abandonment of Appeal and U.S. Appl.
                                                        No. 87/220,918 (SPR0000068-
                                                        SPR0000069)
 76                                                     February 6, 2018 Dismissal of Appeal
                                                        and Acceptance of Abandonment of U.S.
                                                        Appl. Ser. No. 87/220,918
                                                        (SPR0000070)
 77                                                     U.S. Appl. No. 87/774,826, filed by
                                                        Retrobrands USA LLC to register
                                                        NEXTEL (SPR0000204-SPR0000210)
 78                                                     March 12, 2018 Office Action Refusing
                                                        U.S. Appl. No. 87/774,826 (SPR0000211-
                                                        SPR0000240)
 79                                                     U.S. Appl. No. 88/049,689, filed by
                                                        Retrobrands USA LLC to register ‘chirp’
                                                        sensory mark (SPR0008406-
                                                        SPR0008412)
 80                                                     February 1, 2019 Office Action Refusing
                                                        U.S. Appl. No. 88/049,689
 81                                                     U.S. Appl. No. 88/049,692 filed by
                                                        Retrobrands USA LLC to register ‘chirp’
                                                        sensory mark (SPR0008413-
                                                        SPR0008419)
 82                                                     October 25, 2018 Office Action Refusing
                                                        U.S. Appl. No. 88/049,692 (SPR0008253-
                                                        SPR0008261)
 83                                                     Florida Division of Corporations
                                                        Records for Nextel, Inc. d/b/a Nextel
                                                        Worldwide (SPR0000034-
                                                        SPR0000044)
 84                                                     Nextel Worldwide’s Product Sheets
                                                        (SPR0000097-SPR0000110)
 85                                                     Nextel Worldwide Pricing sheet for
                                                        goods and services
                                                        (NEXTEL-1048-NEXTEL-1051)
 86                                                     February 6, 2018 Press Release titled
                                                        “Iconic Nextel Communications Brand
                                                        has Been Relaunched Across America”
                                                        (SPR0000247)
 87                                                     January 5, 2017 Letter from Stephen
                                                        Calabrese to Carl Mathis at Power Sales
                                                        Corporation (NEXTEL-1055)




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                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 88                                                     November 10, 2017 Email Chain
                                                        between Stephen Calabrese and Scott
                                                        Porter et al., Re: FW: Unauthorized Use
                                                        of the Sprint and Nextel Trademark at
                                                        http://getnextel.com/     [IFID:5MX1RL]
                                                        (NEXTEL-1287-NEXTEL-1289)
 89                                                     October 25, 2017 Email Chain between
                                                        Stephen Calabrese and Sprint et al., Re:
                                                        Continued Use of Nextel (SPR0006631-
                                                        SPR0006633)
 90                                                     November 8, 2017 Email Chain between
                                                        Stephen Calabrese and Carl Mathis et al.,
                                                        Re: Unauthorized Use of the Sprint and
                                                        Nextel Trademark at http://power-
                                                        sales.biz/nextel.html [IFID:5MX2CX]
                                                        (NEXTEL-1290-NEXTEL-1291)
 91                                                     November 9, 2017 Email Chain between
                                                        Stephen Calabrese and Phil Froemming,
                                                        Re: Nextel (NEXTEL-1258 - NEXTEL-
                                                        1259)
 92                                                     August 2018 Florida Corporation Filing
                                                        by Jeffrey Kaplan to Change the Name
                                                        of Global Beverages, Inc. to Nextel
                                                        Mobile Worldwide, Inc.
                                                        (SPR0008400-SPR0000405)
 93                                                     December 27, 2018 Report from Vaudra
                                                        International, RE: Counterfeit (US/FL),
                                                        NEXTELWORLDWIDE.COM
                                                        [Distributors[MWG016.18.C
                                                        (SPR0009132-SPR0009141)
 94                                                     ICANN WHOIS information for
                                                        <nextelmobileworldwide.com>
                                                        (SPR0003779-SPR0003780)
 95                                                     April 2, 2017 Email from Brian Mancuso
                                                        to Mike Allen et al., FW: Legal Concern
                                                        of use of Nextel (SPR0000597-
                                                        SPR0000600)
96A                                                     Photographs of Defendants at IWCE in
                                                        2017 Part 1 (SPR0000789)
96B                                                     Photographs of Defendants at IWCE Part
                                                        2 (SPRI0000602-SPR0000605)
96C                                                     Photographs of Defendants at IWCE
                                                        2018 (SPR0000255, SPR0000256,
                                                        SPR0000258, SPR00003714)




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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
 97                                                     Photograph of Defendants Use of
                                                        NEXTEL at IWCE in 2019
 98                                                     June 2017 Invoice from Nextel, Inc. to
                                                        Chicago Equipment Corp. and FlipCo
                                                        (NEXTEL-1021)
 99                                                     April 26, 2017 Cease and Desist Letter
                                                        from Sprint to Stephen Calabrese and
                                                        Nextel Worldwide (SPR0000114-
                                                        SPR0000119)
100                                                     Nextel LinkedIn Page (SPR0009577-
                                                        SPR0009578)
101                                                     Nextel Website Video (SPR0009579)     Not trademark usage;
                                                                                              undated. Objected to under
                                                                                              FRE 401 and 403. (R, UP).
102                                                     Push to Talk PTT and Cellular Mobile  Irrelevant; objected to under
                                                        Solutions Webpage from Nextel Website FRE 401 and 403. (R, UP).
                                                        (SPR0009580-SPR0009582)
103                                                     The New Nextel Webpage from Nextel    Irrelevant; objected to under
                                                        Website (SPR0009583-SPR0009585)       FRE 401 and 403. (R, UP).

104                                                     Coverage Map from Nextel Website                      Irrelevant; objected to under
                                                        (SPR0009586-SPR0009588)                               FRE 401 and 403. (R, UP).

105                                                     Devices Page from Nextel Website                      Irrelevant; objected to under
                                                        (SPR0009589-SPR0009592)                               FRE 401 and 403. (R, UP).

106                                                     Nextel Walkie Talkie Page from Nextel                 Irrelevant; objected to under
                                                        Website (SPR0009593-SPR0009595)                       FRE 401 and 403. (R, UP).

107                                                     Nextel Communications Facebook Page Irrelevant; objected to under
                                                        (SPR0009536-SPR0009575)                FRE 401 and 403. (R, UP).
108                                                     Nextel Communications Facebook Video
                                                        (SPR0009576)
109                                                     October 20, 2017 Email Chain between
                                                        Sprint and Nextel Worldwide’s Counsel,
                                                        Re: C768357748 nextelworldwide.com
                                                        (SPR0006564-SPR0006571)
110                                                     October 26, 2017 Email from Nextel
                                                        Worldwide’s Counsel to Sprint, Re:
                                                        Steven Calabrese (SPR0000257)
111                                                     February 8, 2018 Email from Nextel
                                                        Worldwide’s Counsel to Sprint, Re:
                                                        NEXTEL/Calabrese (SPR0000186)




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TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
112                                                     October 23, 2017 Email Chain between
                                                        Sprint and Nextel Worldwide’s Counsel
                                                        et al., RE:C768357748
                                                        nextelworldwide.com (SPR0006597-
                                                        SPR0006601)
113                                                     Defendants’ “Nextel Is Back”
                                                        Advertisement (SPR0008342)
114                                                     List of NEXTEL-branded Devices Sprint Irrelevant, unsupported.
                                                        Offered from 2005-2013 (SPR0008340) Objected to under FRE 401
                                                                                                 and 403. (R, UP).
115                                                     Neal Expert Report and Jacoby Study      Irrelevant file history based
                                                        (SPR0008569-SPR0009130)                  on Nextel usage not Sprint.
                                                                                                 Objected to under FRE 401
                                                                                                 and 403. (R, UP).
116                                                     Nextel Communications, Inc. –
                                                        Company Profile (SPR0003679-
                                                        SPR0003686)
117                                                     Defendants’ Merchandising License        Designated             Highly
                                                        Agreement (NEXTEL-1029 to                Confidential - AEO
                                                        NEXTEL-1047)
118                                                     Nextel Worldwide’s and Calabrese’s
                                                        Responses to First Set of Requests for
                                                        Admission, served on January 22, 2019
119                                                     Retrobrands’ and Kaplan’s Responses to
                                                        First Set of Requests for Admission,
                                                        served on January 22, 2019
120                                                     Nextel Mobile Worldwide’s Responses to
                                                        First Set of Requests for Admission,
                                                        served on January 22, 2019
121                                                     Nextel Mobile Worldwide’s Responses
                                                        to First Set of Interrogatories, served
                                                        January 14, 2019
122                                                     Defendants’ Responses to Second Set of
                                                        Interrogatories, served January 14, 2019
123                                                     Nextel Worldwide’s, Calabrese’s, and
                                                        Retrobrands’ Supplemental Responses to
                                                        First Set of Interrogatories, served on
                                                        September 28, 2018
124                                                     Nextel Car Video (SPR0009596)            Irrelevant; objected to under
                                                                                                 FRE 401 and 403. (R, UP).
125                                                     CAT s22 Flip Phone Photos                Not produced during
                                                        (SPR0009597-SPR0009604)                  discovery; objected to under
                                                                                                 FRE 401 and 403. (R, UP).




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Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
126                                                     CAT S62 SmartPhone Photos                             Not produced during
                                                        (SPR0000201-SPR0000203)                               discovery; objected to under
                                                                                                              FRE 401 and 403. (R, UP).
127                                                     Trademark Trial and Appeal Board
                                                        documents for KABOOM (Cancellation
                                                        No. 92066286) (SPR0000201-
                                                        SPR0000203)
128                                                     Physical Exhibit: Certified Copy of
                                                        SPR0000001-SPR0000011 (Registration
                                                        for Sprint’s NEXTEL Mark, U.S. Reg.
                                                        No. 1,884,244 (devices)) and certified
                                                        copy of file wrapper
129                                                     Physical Exhibit9: Certified Copy of
                                                        SPR0000012-SPR0000027 (Registration
                                                        for Sprint’s NEXTEL Mark, U.S. Reg.
                                                        No. 1,637,139 (services)) and certified
                                                        copy of file wrapper
130                                                     Physical Exhibit: Certified Copy of
                                                        SPR0008420-SPR0008421;
                                                        SPR0008528-SPR0008568;
                                                        SPR0003839-SPR0003850 (Registration
                                                        for the Sprint Chirp Mark, U.S. Reg. No.
                                                        5,047,282) and certified copy of file
                                                        wrapper
131                                                     Spreadsheet with Sales of XP                          Irrelevant; no trademark
                                                        Strike and XP Strike IS from                          usage; no supporting data.
                                                        January 2017 to January 2019                          Objected to under FRE 401
                                                        (MSJ – Wiley Ex. 3)                                   and 403. (R, UP).
132A                                                    Physical Exhibit: Kyocera Dura XT
                                                        (Produced for inspection at the
                                                        deposition of Scott Wiley)
132B                                                    Physical Exhibit: Sprint Kyocera
                                                        Dura Plus (Produced for inspection
                                                        at the deposition of Scott Wiley)
132C                                                    Physical Exhibit: Sonim XP5S
                                                        (Produced for inspection at the
                                                        deposition of Scott Wiley)
132D                                                    Physical Exhibit: Sonim XP Strike
                                                        (Produced for inspection at the
                                                        deposition of Scott Wiley)
132E                                                    Physical Exhibit: Sonim XP Strike
                                                        IS (Produced for inspection at the
                                                        deposition of Scott Wiley)




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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
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TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
132F                                                    Physical Exhibit: Kyocera Torque
                                                        (Produced for inspection at the
                                                        deposition of Scott Wiley)
132G                                                    Physical Exhibit: Kyocera Dura TR
                                                        (Produced for inspection at the
                                                        deposition of Scott Wiley)
132H                                                    Physical Exhibit: Kyocera Dura
                                                        XTP (Produced for inspection at
                                                        the deposition of Scott Wiley)
132I                                                    Physical Exhibit: Kyocera
                                                        DuraForce Pro (Produced for
                                                        inspection at the deposition of
                                                        Scott Wiley)
133                                                     USPTO Results for Retrobrands
                                                        Trademark Applications
                                                        (SPR0000196- SPR0000197)
134                                                     Trademark Trial and Appeal Board
                                                        documents for PEARL DROPS
                                                        (Cancellation No. 92066559)
                                                        (SPR0000198-SPR0000200)
135                                                     Physical Exhibit: Nextel Worldwidephone
                                                        purchased by Vaudra International
                                                        (images produced atSPR0009132-
                                                        SPR0009141)
136                                                     Screenshot of “Nextel Nostalgic Videos”
                                                        from URL
                                                        https://www.nextelmobileworldwide.
                                                        com/nextel-nostalgic-videos/. (images
                                                        produced at SPR0003347)
137                                                     Petition for Cancellation of NEXTEL and
                                                        NEXTEL DIRECT CONNECT filed
                                                        01/30/18 (SPR0000249-SPR0000254)
138                                                     One Phone. Two Networks ad              2008 advertisement.
                                                        (SPR0000359)                            Objected to under FRE 401
                                                                                                and 403. (R, UP).
139                                                     Nextel Coverage Area Map (SPR0000585)
140                                                     Sprint Together With NEXTEL             2006 advertisements.
                                                        Brochure For Sprint PCS and Nextel      Objected to under FRE 401
                                                        Phones (SPR0003175-SPR0003176)          and 403. (R, UP).
141                                                     Sprint Together With NEXTEL Brochure: 2006 advertisements.
                                                        Sprint Choices Service Plans & Rates    Objected to under FRE 401
                                                        (SPR0003211-SPR0003213)                 and 403. (R, UP).
142                                                     February 29, 2008 Nextel Direct Connect 2007 internal documents.
                                                        on Sprint Launch Tactics (SPR0003611- Objected to under FRE 401
                                                        SPR0003626)                             and 403. (R, UP).


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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
143                                                     October 2007 Presentation with new                    2007 internal documents.
                                                        handsets (SPR0003629-SPR0003632)                      Objected to under FRE 401
                                                                                                              and 403. (R, UP).
144                                                     April 29, 2013 News Release: Sprint on
                                                        schedule to shut down iDEN network
                                                        within 60 days (SPR0003671-
                                                        SPR0003672)
145                                                     Trademark Electronic Search System
                                                        result for NEXTEL DIRECT CONNECT
                                                        (U.S. Reg. 2,236,098) (SPR0006938)
146                                                     Sprint Direct Connect Commercial         Undated Sprint commercial;
                                                        (SPR0008352)                             not trademark usage.
                                                                                                 Objected to under FRE 401
                                                                                                 and 403. (R, UP).
147                                                     Sprint Direct Connect Plus Video Series:
                                                        Smart Phone (SPR0008439)

148                                                     Sonim XP3plus Photos #1 (SPR0009613- Not produced during
                                                        SPR0009620)                              discovery; objected to under
                                                                                                 FRE 401 and 403. (R, UP).
149                                                     Sonim XP3plus Photos #2 (SPR0009621- Not produced during
                                                        SPR0009628)                              discovery; objected to under
                                                                                                 FRE 401 and 403. (R, UP).
150                                                     TESS Results for Retrobrands’
                                                        Application for Chirp sound (US Appl No.
                                                        88049689)
151                                                     TESS Results for Sprint’s Application
                                                        for Chirp sound (US Reg. 5047282)
                                                        (Ex. A to DeFord Decl. in Support of
                                                        Sprint’s Motion
                                                        for Rule 11 Sanctions)
152                                                     Webpage of building in Belgium with      Not relevant. Objected to
                                                        NEXTEL name (Exhibit J to First          under FRE 401 and 403. (R,
                                                        Amended Complaint)                       UP).
153                                                     WhoIs information for nextelisback.com
                                                        (Exhibit L to First
                                                        Amended Complaint)
154                                                     Nextel Watch Brochure (Exhibit K to
                                                        First Amended Complaint)
155                                                     WhoIs Information for getnextel.com
156                                                     WhoIs Information for
                                                        nextelworldwide.com




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PRESIDING JUDGE:                      PLAINTIFF’S ATTORNEY: Brian Riopelle, Lucy              DEFENDANT’S ATTORNEY:
Honorable Jose E. Martinez            Wheatley, Amanda DeFord, Dan Rogers, and Claire Eller   James J. Kernell and Wayne H. Schwartz
TRIAL DATE:                           COURT REPORTER: Dawn Savino                             COURTROOM DEPUTY:
April 11, 2022
PLF. DEF.         DATE                                       DESCRIPTION OF EXHIBITS AND                                 OBJECTIONS
                             MARKED   ADMITTED
NO.     NO.     OFFERED                                              WITNESSES
157                                                     Physical Exhibit: Device produced for
                                                        inspection, model i450 (Images of device
                                                        produced at SPR0009631-
                                                        SPR0009632)
158                                                     Nextel Boston Youtube Video (Produced Not produced during
                                                        at SPR0009629)                              discovery; objected to under
                                                                                                    FRE 401 and 403. (R, UP).
159                                                     Article – “Nextel telecommunications
                                                        Brand to Become Publicly Traded Via
                                                        SPAC Deal” (Produced at SPR0009701-
                                                        SPR0009703)
160                                                     Article – “The Iconic NEXTEL
                                                        Telecommunications Brand is Spreading
                                                        Across America; Seeking Investment”
                                                        (Produced at
                                                        SPR0009704-SPR0009706)
161                                                     Nextel Catalog 2020 (Produced at
                                                        SPR0009707-SPR0009715)
162                                                     Certificate of Conversion to Sprint         Not produced during
                                                        Communications LLC, filed with Kansas discovery; objected to under
                                                        Office of the Secretary of State            FRE 401 and 403. (R, UP).
                                                        (SPR0009755- SPR0009756)
163                                                     February 2020 Customer Presentation         Not produced during
                                                        - Sprint Direct Connect Plus 4b             discovery; objected to under
                                                        (SPR0009716-SPR0009754)                     FRE 401 and 403. (R, UP).
164                                                     Updated Financial Information from
                                                        Defendants
165                                                     Certified Copy of Registration for Sprint’s
                                                        NEXTEL Mark, U.S. Reg. No. 1,884,244
                                                        (March 2022)
166                                                     Certified Copy of Registration for the
                                                        Sprint Chirp Mark, U.S. Reg. No.
                                                        5,047,282 (March 2022)




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